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                                                       U.S. Department of Justice
                                                       United States Attorney
                                                       Northern District of Georgia

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                                                     75 Ted Turner Drive S.W.           Fax: (404) 581-6181
                                                     Suite 600
                                                     Atlanta, Georgia 30303



                                                     February 10, 2023

Courtroom Deputy
U.S. Courthouse
75 Ted Turner Drive S.W.
Atlanta, Georgia 30303

     Re: United States v. Ogletree (4:18-cr-003)           United States v. Richiez (1:22-mj-1042)
         United States v. Black (1:22-cr-029)              United States v. Pierre (1:23-cr-045)
         United States v. Carswell (1:22-cr-118)           United States v. Kneubuhler (1:23-cr-047)
         United States v. Kazmende (1:22-cr-236)           United States v. Plunkett (2:22-cr-043)
         United States v. Demar (1:22-cr-389)              United States v. Bailey (2:22-cr-048)
         United States v. Demar (1:22-cr-404)

Dear Courtroom Deputy:

   This letter is to notify the Court pursuant to LCrR 57.1(E)(4), NDGa, I will be out of the office
from June 5, 2023 through June 9, 2023. I respectfully request the Court not schedule any court
appearances in the above-referenced matters for those dates.

    This letter is intended to supplement any other leave-of-absence notice or notices I have filed
in the above-referenced matters.

                                              Sincerely,

                                              R YAN K. B UCHANAN
                                              United States Attorney


                                         / S / T HEODORE S. H ERTZBERG
                                               Assistant United States Attorney

cc: Counsel for Defendants
